      Case: 1:24-cv-12256 Document #: 3 Filed: 01/07/25 Page 1 of 17 PageID #:3




                    IN THE UNITED STATES DISTRICT COURT
               FOR THE FOR THE NORTHERN DISTRICT OF ILLINOIS



 GEORGE D. MANDERBACH, INC. d/b/a               )   Civil Action No: 1:24-cv-012256
 MANDERBACH FORD, DLR AUTO                      )
 GROUP LLC, on Behalf of All Others             )
 Similarly Situated,                            )   AMENDED CLASS ACTION
                                                )   COMPLAINT
                Plaintiff,                      )
                                                )
 v.                                             )   DEMAND FOR JURY TRIAL
                                                )
 CDK GLOBAL, LLC                                )
                                                )
                Defendant.



       Plaintiff George D. Manderbach, Inc., d/b/a Manderbach Ford (“Manderbach Ford” or

“Plaintiff”), individually and on behalf of the Class defined below, bring this action against

Defendant CDK Global LLC (“CDK Global”) and allege as follows:

                                       INTRODUCTION

       1.      This action arises out of Defendant CDK Global’s failure to maintain adequate data

security measures, which led to the foreseeable event of a data breach followed by the foreseeable

injuries inflicted on the many automotive businesses that rely on CDK Global’s dealer

management system.

       2.      CDK is a “software-as-a-service” provider used by more than 15,000 auto dealers,

repair shops, and other automotive businesses nationwide. Automotive businesses use CDK’s

software to operate and manage critical components of their operations, including sales, financing,

payroll, service, and customer relations. Automotive businesses pay CDK Global significant

subscription fees to use its proprietary dealer management software.


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      Case: 1:24-cv-12256 Document #: 3 Filed: 01/07/25 Page 2 of 17 PageID #:4




        3.      On June 18 and June 19, 2024, CDK suffered two cybersecurity incidents (the

“Data Breaches”). For more than two weeks after the Data Breaches, automotive businesses like

Plaintiff, who use Defendant’s services, were unable to process sales and suffered delays in

processing service requests and ordering parts, causing hundreds of millions of dollars in monetary

losses and irreparable reputational harm.

        4.      Plaintiff and Class members now must contend with the continuing fallout from the

Data Breaches. Plaintiff therefore brings this action for damages, loss of the benefit of the bargain,

and restitution on its own behalf and for all others similarly situated.

                                             PARTIES

        5.      Plaintiff Manderbach Ford is an independent Ford dealership located in Hamburg,

Pennsylvania.

        6.      Defendant CDK Global is a limited liability company organized under the laws of

Delaware, with its headquarters and principal place of business located Hoffman Estates, Illinois.

                                 JURISDICTION AND VENUE

        7.      This Court has subject matter jurisdiction over the lawsuit under the Class Action

Fairness Act, 28 U.S.C. § 1332, because this is a proposed class action in which: (1) there are at

least 100 Class members; (2) the combined claims of Class members exceed $5,000,000, exclusive

of interest, attorneys’ fees, and costs; and (3) CDK Global and one or more class members are

citizens of different states.

        8.      The Court has personal jurisdiction over CDK Global because its principal place of

business is within this District, and it has sufficient minimum contacts in Illinois to render the

exercise of jurisdiction by this Court proper and necessary.




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      Case: 1:24-cv-12256 Document #: 3 Filed: 01/07/25 Page 3 of 17 PageID #:5




       9.      For the same reasons, venue is properly laid in this forum under 28 U.S.C. §

1391(b).

                                  FACTUAL ALLEGATIONS

       A.      Background Regarding CDK Global

       10.     As noted above, CDK Global is a “software-as-a-service” provider that hosts a suite

of applications used by more than 15,000 car dealerships, automotive repair shops, and other

automotive businesses nationwide. By some estimates, CDK Global controls almost 50% of the

market for auto dealership software in the United States. 1 CDK Global highlights that it is the

“North American leader in providing mission-critical enterprise resource planning solutions and

software for automotive dealerships.” 2

       11.     Car dealerships use CDK Global’s software to operate and manage critical

components of their operations, including sales, financing, payroll, service, and customer relations.

       12.     For example, CDK Global offers car dealerships access to its Dealer Management

System (“DMS”), a “suite of powerful software tools that equips auto dealers with the solutions

they need to be profitable on one fully integrated platform.” 3

       13.     Many car dealerships rely on CDK Global’s software, including its DMS, for their

entire sales process, including to generate necessary paperwork, store sales contracts, manage

vehicle inventory, secure financing, and register new vehicles.




1
 Belle Lin, CDK Global Hack Shows Risk of One Software Vendor Dominating an Industry,
WALL ST. J. (June 29, 2024), https://www.wsj.com/articles/cdk-global-hack-shows-risk-of-one-
software-vendor-dominating-an-industry-5156420d.
2
 Brookfield to Acquire CDK Global Inc., BROOKFIELD ASSET MGMT. (Apr. 7, 2022),
https://bbu.brookfield.com/press-releases/bbu/brookfield-acquire-cdk-global-inc.
3
 CDK Global, Dealer Management System, https://www.cdkglobal.com/dms (last visited July 9,
2024).

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      Case: 1:24-cv-12256 Document #: 3 Filed: 01/07/25 Page 4 of 17 PageID #:6




       14.     Car dealerships, automotive repair shops, and other automotive businesses also rely

on CDK Global’s software to schedule customer appointments, track and obtain parts, manage

service requests, process payroll, and perform other critical tasks.

       B.      The Data Breach

       15.     On June 18, 2024, CDK Global suffered a cyberattack, resulting in CDK shutting

down its data centers and IT systems.

       16.     On June 19, 2024, CDK Global made the following statement:

               We are actively investigating a cyber incident. Out of an abundance of
               caution and concern for our customers, we have shut down most of our
               systems and are working diligently to get everything up and running as
               quickly as possible. 4

       17.     That same day, while attempting to restore the services affected by the first Data

Breach, CDK Global suffered a second cyberattack, causing it to again shut down most of its

systems.

       18.     On June 20, 2024, CDK Global released the following statement to dealerships:

               If you are not aware, we experienced an additional cyber incident late in the
               evening on June 19.

               We continue to act out of caution, and to protect our customers, we have
               taken down most of our systems. Do not attempt to access the DMS until
               we can confirm the system is secure. Digital Retail and CDK phones
               continue to be functional.

               At this time, we do not have an estimated time frame for resolution and
               therefore our dealers’ systems will not be available likely for several days.

               As of now, our Customer Care channels for support remain unavailable as
               a precautionary measure to maintain security. It is a high priority to reinstate
               these services as soon as possible.


4
 Lawrence Abrams, CDK Global Cyberattack Impacts Thousands of US Car Dealerships,
BLEEPINGCOMPUTER (June 19, 2024), https://www.bleepingcomputer.com/news/security/cdk-
global-cyberattack-impacts-thousands-of-us-car-dealerships/.

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      Case: 1:24-cv-12256 Document #: 3 Filed: 01/07/25 Page 5 of 17 PageID #:7




               Along with the Critical Situation emails, we are providing updates in Unify
               and have two phone numbers to contact CDK for the latest recorded
               update. 5

       19.     CDK Global subsequently warned customers that threat actors posing as CDK

employees or affiliates were calling customers and trying to obtain access to their systems.

       20.     The Data Breaches have had debilitating effects on car dealerships, automotive

repair shops, and other automotive business who use CDK Global’s systems throughout the United

States, such as Plaintiff, which have been unable to timely process hundreds of millions of dollars

in sales and services. The Data Breaches forced Defendant to shut down its servers and services,

depriving Plaintiff and Class members access to critical software and information necessary to run

their businesses.

       21.     Deprived of access to CDK Global’s services, many dealerships and repair shops

effectively shut down, while some resorted to manually processing paperwork and transactions in

order to continue selling and servicing vehicles—a time-consuming process that doubled or tripled

wait times.

       22.     The Data Breaches and associated delays significantly reduced new vehicle sales

and resulted in substantial financial losses for dealerships and repair shops. According to one

estimate by J.D. Power, the Data Breaches were expected to reduce new vehicle sales in June by

about 100,000 vehicles, or more than 7%, compared with the same period in 2023. 6




5
 Lawrence Abrams, CDK Global Hacked Again While Recovering From First Cyberattack,
BLEEPINGCOMPUTER (June 20, 2024), https://www.bleepingcomputer.com/news/security/cdk-
global-hacked-again-while-recovering-from-first-cyberattack/.
6
 Megan Cerullo, CDK Global’s Car Dealer Software Still Not Fully Restored Nearly 2 Weeks
After Cyberattack, CBS NEWS (July 1, 2024), https://www.cbsnews.com/news/cdk-cyber-attack-
update-some-systems-restored/.

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          Case: 1:24-cv-12256 Document #: 3 Filed: 01/07/25 Page 6 of 17 PageID #:8




           23.   An analysis by the Anderson Economic Group further estimated that “dealer losses

could reach $944 million,” though that figure assumes that purchasers whose sale contracts were

interrupted by the Data Breaches would complete their intended purchase. 7

           C.    CDK Global Had a Duty to Maintain Adequate Cybersecurity Systems and
                 Protocols

           24.   CDK Global knew that it maintained sensitive data on its systems, and that it faced

a heightened risk of cyberattack due to the nature of that data.

           25.   Indeed, CDK Global stresses the importance of data security and the potential

consequences of data breaches on its website. CDK Global emphasizes that dealers should “guard

against connection and security failure” and notes that “customers are trusting you with their

personal data.” 8 CDK Global further explains that data breaches or connectivity failures “can stop

every part of your dealership in its tracks” and can result in an irreparable loss of customer trust. 9

           26.   CDK Global also promotes its “Cybersecurity Solutions,” which utilize a “three-

tiered cybersecurity strategy to prevent, protect and respond to cyberattacks.” 10

           27.   In 2023, CDK Global released a report entitled “The State of Dealership

Cybersecurity: 2023.” 11 The report notes that “Defending Against Cyberthreats Is More Important

Than Ever” and explains that “[c]ybercriminals continue to target dealerships with ever-evolving



7
 Dealer Losses Due to CDK Cyberattack to Reach $944 Million in First Three Weeks,
ANDERSON ECON. GRP. (July 1, 2024), https://www.andersoneconomicgroup.com/dealer-losses-
due-to-cdk-cyberattack-to-reach-944-million-in-first-three-weeks/.
8
 CDK Global, Infrastructure, https://www.cdkglobal.com/infrastructure (last visited July 9,
2024).
9
    Id.
10
  CDK Global, Dealership Cybersecurity, https://www.cdkglobal.com/dealership-
operations/cybersecurity (last visited July 9, 2024).
11
   CDK Global, The State of Dealership Cybersecurity 2023,
https://cms.cdkglobal.com/Cybersecurity2023 (last visited July 9, 2024).

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         Case: 1:24-cv-12256 Document #: 3 Filed: 01/07/25 Page 7 of 17 PageID #:9




methods to steal user and client data, from simply stealing passwords to sophisticated phishing

schemes.” 12 The report further states that “Dealership Cyberattacks Increased in 2023,” with 17%

of dealerships reporting a recent cyberattack, and emphasizes that all dealerships are likely targets

for cyberattacks. 13

           28.      CDK Global has also stressed the importance of data security in other materials. In

an October 2022 post on its website, CDK Global warned that “[d]ealerships have a treasure trove

of personal and financial data that could be exposed in a cyberattack” and that failure to protect

this data could result in substantial financial losses as well as a loss of consumer confidence. 14

           29.      Federal and state government bodies have established security standards and issued

recommendations to reduce the risk of cyberattack and the resulting harm to consumers and

institutions. The Federal Trade Commissions has issued numerous guidelines for businesses

highlighting the importance of robust and effective data and cyber security practices. The FTC has

advised that it is imperative that companies factor data and cyber security into all business

decision-making.

           30.      In 2016, the FTC updated its publication, “Protecting Personal Information: A

Guide for Business,” which established guidelines for fundamental data and cyber security

principles and practices for business. The guidelines note businesses should protect the personal

customer and consumer information that they keep; properly dispose of personal information that

is no longer needed; encrypt information stored on networks; understand their network’s

vulnerabilities; and implement policies to correct security problems. The guidelines further


12
     Id. at 3.
13
     Id. at 5, 9.
14
   CDK Global Staff, “Data Privacy: What You Should Know,” CDK GLOBAL (Sept. 16, 2022),
https://www.cdkglobal.com/insights/data-privacy-what-you-should-know.

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     Case: 1:24-cv-12256 Document #: 3 Filed: 01/07/25 Page 8 of 17 PageID #:10




recommend that businesses use an intrusion detection system to expose a breach as soon as it

occurs; monitor all incoming traffic for activity indicating someone is attempting to hack the

system; watch for large amounts of data being transmitted from the system; and have a response

plan ready in the event of a breach.

       31.     The FTC also advises that companies limit access to sensitive data; require complex

passwords to be used on networks; use industry-tested methods for security; monitor for suspicious

activity on the network; and verify that third-party service providers have implemented reasonable

security measures.

       32.     The FTC has brought enforcement actions against businesses for failing to

adequately protect confidential consumer data, treating the failure to employ appropriate measures

to prevent unauthorized access to such data as an unfair practice that violates Section 5 of the FTC

Act, 15 U.S.C. § 45(a).

       D.      Plaintiff-Specific Allegations

                                       Manderbach Ford
       33.     Plaintiff Manderbach Ford is an independent Ford dealership located at 301 Front

Street in Hamburg, Pennsylvania. It operates under an umbrella of dealerships owned by the Kinley

Automotive Group.

       34.     Manderbach Ford contracted with CDK for CDK to provide a variety of dealer

management services, including those related to accounts receivable, accounts payable and the

issuance of checks. CDK also licenses software to Manderbach Ford to utilize in its day-to-day

operations related to vehicle sales and warranty repairs, as well providing a mechanism through

which it can obtain consumer credit reports for prospective vehicle buyers. In short, the dealer

management services provided by CDK (and paid for by Manderbach Ford) are critical to

Manderbach Ford’s daily business operations.

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     Case: 1:24-cv-12256 Document #: 3 Filed: 01/07/25 Page 9 of 17 PageID #:11




       35.     Beginning on or around June 18, 2024, Manderbach Ford’s access to the entire

CDK system was disrupted as a result of the Data Breaches. It was not until approximately three

weeks later that the CDK dealer management system was restored—and even then, it was not fully

operational. For example, even after the system was allegedly restored, an accounting firm that

Manderbach Ford had retained to conduct an audit remotely was unable to access the financial

information it needed on CDK’s network.

       36.     The CDK outage could hardly have occurred at a worse time for Manderbach Ford.

The early summer weeks leading up to the July 4th holiday are often among the highest grossing

times for auto dealers. 15 But, rather than processing vehicle sales and carrying on with business as

usual, the CDK outage created chaos for the management and staff at Manderbach Ford.

Manderbach Ford was unable to cut checks through the CDK system, and had to resort to using

pen and paper to process sales. It was also unable to access certain rebates and incentives being

offered, which further cut into potential sales. Scheduling for vehicle service was also disrupted.

       37.     As a result of the Data Breaches, Manderbach Ford suffered significant economic

damages, including lost earnings from new vehicle sales, lost earnings from vehicle maintenance

and repair services, lost earnings from vehicle parts sales, as well as additional administrative

expenses and other expenses incurred in attempting to mitigate the effects of the Data Breaches.

Manderbach Ford was further injured in that it did not receive the benefit of the bargain with

respect to its agreement with CDK.




15
  Megan Cerullo, CDK Cyberattack Outage Could Lead to 100,000 Fewer Cars Sold in June,
Experts Say, CBS NEWS (June 28, 2024), https://www.cbsnews.com/news/cdk-attack-update-
outage-car-sales-impact/.

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    Case: 1:24-cv-12256 Document #: 3 Filed: 01/07/25 Page 10 of 17 PageID #:12




                               CLASS ACTION ALLEGATIONS

       38.     Plaintiff brings this class action on behalf of themselves and all others similarly

situated pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(1), 23(b)(2), 23(b)(3), and where

applicable, 23(c)(4), on behalf of the following Class:

               Class: All automotive businesses in the United States who used or relied upon CDK
               Global’s services and sustained interruption to their business operations as a result
               of the Data Breaches.

       39.     Excluded from the Class are Defendant’s officers, directors, and employees; any

entity in which Defendant has a controlling interest; and the affiliates, legal representatives,

attorneys, successors, heirs, and assigns of Defendant. Also excluded from the Class are members

of the judiciary to whom this case is assigned, their families and members of their staff.

       40.     Plaintiff reserves its right to modify the Class definition, including based on

discovery and further investigation.

       41.     The Class is so large as to make joinder impracticable. There are at least tens of

thousands of Class members. Disposition of their claims in a single action will provide substantial

benefits to all parties and to the Court. Class members are readily ascertainable from information

and records in Defendant’s possession, custody, or control.

       42.     Plaintiff’s claims are typical of the claims of the Class, as Plaintiff, like all Class

members, experienced disruption in CDK Global’s services as a result of the Data Breaches.

       43.     Plaintiff is a member of the Class and will fairly and adequately represent and

protect its interests. Plaintiff’s counsel is competent and experienced in prosecuting class actions,

including relating to data breaches. Plaintiff has no interests contrary to or in conflict with the

interests of any other Class member.




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    Case: 1:24-cv-12256 Document #: 3 Filed: 01/07/25 Page 11 of 17 PageID #:13




         44.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual Class members. Among the questions

of law and fact common to the Class are:

               •   Whether CDK Global engaged in the conduct alleged;

               •   Whether CDK Global had a duty to implement reasonable cyber security measures

                   to protect against cyberattack;

               •   Whether CDK Global breached that duty by failing to take reasonable precautions

                   to protect against cyberattack;

               •   Whether CDK Global’s conduct constitutes a breach of contract;

               •   Whether CDK Global was unjustly enriched as a result of its wrongful conduct; and

               •   Whether Plaintiff and Class members are entitled to damages or restitution and in

                   what amount.

         45.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy. Absent a class action, most Class members would likely find the

cost of litigating their claims prohibitively high and would have no effective remedy. Given the

relatively small size of the individual Class members’ claims, few, if any, Class members would

seek redress for CDK Global’s violations individually. Class treatment will conserve the resources

of the courts and promote consistency and efficiency of adjudication.

         46.       CDK Global acted or refused to act on grounds generally applicable to the Class,

making injunctive and corresponding declarative relief appropriate with respect to the Class as a

whole.

         47.       Class certification also is appropriate under Rules 23(b)(1), (b)(2), and/or (c)(4)

because:


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    Case: 1:24-cv-12256 Document #: 3 Filed: 01/07/25 Page 12 of 17 PageID #:14




             •   The prosecution of separate actions by individual members of the Class would

                 create a risk of inconsistent or varying adjudications establishing incompatible

                 standards of conduct for CDK Global.

             •   The prosecution of separate actions by individual Class members would create a

                 risk of adjudications that would, as a practical matter, be dispositive of the interests

                 of other Class members not parties to the adjudications, or would substantially

                 impair or impede their ability to protect their interests.

             •   Defendant has acted or refused to act on grounds generally applicable to the Class,

                 making injunctive and corresponding declaratory relief appropriate with respect to

                 the Class as a whole; and

             •   The claims of Class members are comprised of common issues whose resolution in

                 a class trial would materially advance this litigation.

                                  FIRST CAUSE OF ACTION
                                        NEGLIGENCE
                               (On Behalf of Plaintiff and the Class)

       48.       Plaintiff incorporates and realleges the foregoing allegations of fact.

       49.       CDK Global collected sensitive information from Plaintiff and Class members in

connection with Plaintiff’s and Class Members’ use of CDK Global’s software and other services.

CDK Global undertook to provide data storage, operations management tools, and other services,

on which Plaintiff and Class members’ businesses depended.

       50.       CDK Global owed Plaintiff and Class members a duty of reasonable care to

preserve and protect the information being stored, transferred, and secured and to ensure that

Defendant’s software tools and other services stayed operational and did not experience extended

outages or unavailability.


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    Case: 1:24-cv-12256 Document #: 3 Filed: 01/07/25 Page 13 of 17 PageID #:15




       51.     This duty included, among other obligations, maintaining and testing CDK Global’s

security systems and computer networks, implementing training and other protocols and

procedures to guard against cyberattack, and taking other reasonable security measures to

safeguard and adequately secure its systems from unauthorized access and use.

       52.     CDK Global’s duty further included the obligation to provide data security

consistent with industry standards and other requirements discussed herein, and to ensure

Defendant’s electronic systems and networks were adequately protected at all relevant times.

       53.     Defendant had a common law duty to prevent foreseeable harm to others, including

its customers. Plaintiff and Class members were the foreseeable and probable victims of any

inadequate security practices on the part of CDK Global. It was foreseeable that Plaintiff and Class

members would be harmed by Defendant’s failure to protect against cyberattack. CDK Global

knew that hackers routinely target sensitive personal information like that housed on its systems,

and CDK Global knew that such an attack would or could freeze or otherwise impair services CDK

Global was providing to Plaintiff and Class members, on which they rely.

       54.     CDK Global also owed a duty to Plaintiff and Class members, by operation of

statute, to implement and ensure adequate data security practices. For instance, under the FTC Act,

15 U.S.C. § 45(a), Defendant had a duty to provide fair and adequate computer systems and data

security practices, including to safeguard PII.

       55.     CDK Global’s actions and inaction breached its duties by failing to provide

adequate data security to safeguard its systems.

       56.     Plaintiff and Class members were the foreseeable victims of Defendant’s

inadequate and ineffectual cybersecurity. The natural and probable consequence of Defendant’s




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    Case: 1:24-cv-12256 Document #: 3 Filed: 01/07/25 Page 14 of 17 PageID #:16




failure to adequately secure its information networks was a disruption in the services upon which

Defendant knew Plaintiff and Class members rely.

       57.     Defendant knew it was an attractive target for cyber thieves, particularly in light of

data breaches experienced by other entities around the United States, including auto dealerships.

The Data Breaches were reasonably foreseeable given the known high frequency of ransomware

attacks and data breaches.

       58.     There is a close connection between Defendant’s failure to employ reasonable

security protections for its systems and the injuries suffered by Plaintiff and Class members.

Defendant’s vulnerability to cyberattack resulted in its systems being taken down, and the inability

of Plaintiff and Class members to use these systems to operate their businesses.

       59.     The policy of preventing future harm disfavors application of the economic loss

rule, particularly given the sensitivity of the private information entrusted to Defendant. A high

degree of opprobrium attaches to Defendant’s failure to secure their systems. Defendant had an

independent duty in tort to protect this information and thereby avoid reasonably foreseeable harm

to Plaintiff and Class members.

       60.     As a result of Defendant’s negligence, Plaintiff and Class members have suffered

actual damages in an amount to be proven at trial. Plaintiff and Class members seek an award of

nominal damages in the alternative.

                               SECOND CAUSE OF ACTION
                                 BREACH OF CONTRACT
                             (On Behalf of Plaintiff and the Class)

       61.     Plaintiff incorporates and realleges the foregoing allegations of fact

       62.     Plaintiff brings this claim individually and on behalf of the Class.

       63.     CDK Global entered into contracts with Plaintiff and Class members.



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    Case: 1:24-cv-12256 Document #: 3 Filed: 01/07/25 Page 15 of 17 PageID #:17




       64.       Plaintiff and Class members paid for CDK Global’s services and discharged any

and all other duties that Plaintiff owed.

       65.       In exchange, CDK Global was to provide Plaintiff and Class members access to its

dealer management system and other services.

       66.       After the Data Breaches, CDK Global deactivated its dealer management system

and other services, depriving Plaintiff and Class members’ access to and ability to use those

services, in breach of CDK Global’s contractual obligations.

       67.       As a direct and proximate result of CDK Global’s breaches, Plaintiff and Class

members sustained actual losses and damages in an amount to be proven at trial. Plaintiff and Class

members seek an award of nominal damages in the alternative.

                                  THIRD CAUSE OF ACTION
                                    UNJUST ENRICHMENT
                               (On Behalf of Plaintiff and the Class)

       68.       Plaintiff incorporates and realleges the foregoing allegations of fact.

       69.       Plaintiff brings this count in the alternative to its legal claims and lack an adequate

remedy at law.

       70.       Plaintiff and Class members conferred a benefit on CDK Global by directly or

indirectly paying it money for services rendered.

       71.       CDK Global appreciated and had knowledge of the benefits conferred upon it by

Plaintiff and Class members.

       72.       In exchange for receiving Plaintiff’s and Class members’ money, which provided

CDK Global a commercial benefit, CDK Global was obligated to supply Plaintiff and Class

members with access to and use of its software and systems. Following the Data Breach, however,

CDK Global deactivated those services.



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    Case: 1:24-cv-12256 Document #: 3 Filed: 01/07/25 Page 16 of 17 PageID #:18




       73.      Equity and good conscience forbid retention by CDK Global of the financial

benefits it obtained from Plaintiff and Class members under these circumstances.

       74.      As a result of CDK Global’s wrongful conduct, Plaintiff and Class members

suffered harm as described herein and are entitled to restitution. CDK Global should therefore be

compelled to disgorge into a common fund for the benefit of Plaintiff and Class members all

unlawful or inequitable proceeds it received therefrom.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for an order:

             A. Certifying this action as a class action, appointing Plaintiff as Class representative,

                and appointing Plaintiff’s counsel to represent the Class;

             B. Entering judgment for Plaintiff and the Class;

             C. Awarding Plaintiff and Class members actual or nominal damages or restitution;

             D. Awarding pre- and post-judgment interest as prescribed by law;

             E. Awarding reasonable attorneys’ fees and costs as permitted by law;

             F. Granting such further and other relief as may be just and proper.

                                    JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury on all issues so triable.
 Date: January 7, 2025                               Respectfully submitted,


                                                     By: /s/ Benjamin F. Johns
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                                                  16
Case: 1:24-cv-12256 Document #: 3 Filed: 01/07/25 Page 17 of 17 PageID #:19




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